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                  IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF PUERTO RICO

   IN RE:

   GRUPO HIMA SAN PABLO, INC.                CASE NO. 23-02510

   DEBTOR                 (EIN               (ESL) CHAPTER 11

   IN RE:

   CENTRO MEDICO EL TURABO,                  CASE NO. 23-02513

   INC. DEBTOR             (EIN              (ESL) CHAPTER 11

   IN RE:

   HIMA SAN PABLO PROPERTIES,                CASE NO. 23-02515

   INC. DEBTOR             (EIN #2718)       (ESL) CHAPTER 11

   IN RE:

   PORTAL DE CAGUAS, INC.                    CASE NO. 23-02516

   DEBTOR                  (EIN #4874)       (ESL) CHAPTER 11

   IN RE:
                                             CASE NO. 23-02517 (ESL)
   GENERAL CONTRACTING SERVICES,

   INC. DEBTOR             (EIN #4903)       CHAPTER 11

   IN RE:

   IA DEVELOPERS, CORP.                      CASE NO. 23-02519

   DEBTOR                  (EIN #4128)       (ESL) CHAPTER 11

   IN RE

   CMT DEVELOPMENT, LLC.                     CASE NO. 23-02520

   DEBTOR                   (EIN #4351)      (ESL) CHAPTER 11
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    IN RE:

    JOCAR ENTERPRISES, INC.                              CASE NO. 23-02521 (ESL)

    DEBTOR                         (EIN #5849)           CHAPTER 11

    IN RE:

    JERUSALEM HOME AMBULANCE, INC.                       CASE NO. 23-02522 (ESL)

    DEBTOR                          (EIN #0175)          CHAPTER 11

    IN RE:

    HOST SECURITY SERVICES, INC.                         CASE NO. 23-02523 (ESL)

    DEBTOR                         (EIN #8802)           CHAPTER 11


       NOTICE OF (I) POTENTIAL ASSUMPTION AND ASSIGNMENT OF
  EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND (II) CURE AMOUNTS

         You are receiving this notice because you may be a counterparty to a contract or lease
  with one or more of the above-captioned debtors or debtors in possession (collectively, the
  “Debtors”). Please read this notice carefully as your rights may be affected by the
  transactions described herein.

  PLEASE TAKE NOTICE OF THE FOLLOWING:

          1.      On August 21, 2023, the above-captioned debtors and debtors-in-possession
  (collectively, the “Debtors”) filed a motion seeking approval of the Bidding Procedures for the
  sale of certain of the Debtors’ assets (the “Assets”) and approval of the sale such Assets (the
  “Bidding Procedures and Sale Motion”) to the highest or best qualified bidder (the “Successful
  Bidder”). The Debtors have sought the approval and the Bankruptcy Court (as defined below)
  has approved the proposed Bidding Procedures and the form of this notice upon Order entered on
  August 26, 2023. The Debtors have further requested that a hearing to approve the sale of the
  Assets (the “Sale Hearing”) be scheduled for September 20, 2023, at 4:00 (Atlantic Standard
  Time) in the United States Bankruptcy Court for the District of Puerto Rico (the “Bankruptcy
  Court”).

          2.      Pursuant to the Bidding Procedures and Sale Motion, the Debtors may potentially
  assume and assign to the Successful Bidder one or more of the executory contracts and unexpired
  leases listed on Schedule A annexed hereto (collectively, the “Potentially Assigned Agreements”
  and each, a “Potentially Assigned Agreement”), pursuant to section 365 of the Bankruptcy Code.
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         3.      The Debtors have indicated on Schedule A annexed hereto the cure amounts, if
  any, that the Debtors believe must be paid to cure any prepetition defaults and pay all amounts
  accrued under the Potentially Assigned Agreements (in each instance, the “Cure Amount”).

          4.      Any party seeking to object to the validity of the Cure Amount as determined by
  the Debtors or otherwise assert that any other amounts, defaults, conditions or pecuniary losses
  must be cured or satisfied under any of the Potentially Assigned Agreements in order for such
  contract or lease to be assumed and assigned, must file an objection (the
  “Assumption/Assignment Objection”) that: (a) is in writing, (b) sets forth the specific monetary
  amount the objector asserts to be due, and the specific types of the alleged defaults, pecuniary
  losses, accrued amounts and conditions to assignment and the support therefor, (c) is filed with the
  Clerk of the Bankruptcy Court, 300 Calle del Recinto S STE 109, San Juan, PR 00901-1964, and
  (d) is served on: (1) proposed counsel to the Debtors, Lugo Mender Group, LLC, 100 Carr. 165
  Suite 501 Guaynabo, Puerto Rico 00968, (Attn: Wigberto Lugo Mender (wlugo@lugmender.com)
  and Alexis Betancourt Vincenty (a_betancourt@lugomender.com), ); (2) counsel to the DIP
  Agent, Milbank LLP, 55 Hudson Yards, New York, New York 10001 (Attn: Evan Fleck
  (efleck@milbank.com) and Matthew Brod (mbrod@milbank.com)); and (3) the Office of the
  United States Trustee for the District of Puerto Rico (the “U.S. Trustee”), Edificio Ochoa, 500
  Tanca Street, Suite 301301 (Attn: Monsita Lecaroz-Arribas (USTP.Region21@usdoj.gov))
  (collectively, the “Notice Parties”) by no later than 4:00 p.m. (Atlantic Standard Time) on the
  date that is fourteen (14) calendar days after the service of this Assumption and Assignment
  Notice (the “Assumption/Assignment Objection Deadline”). Service may be made through the
  CM/ECF system, with courtesy copies sent by email to the Notice Parties.

           5.      The Auction, if required, will be conducted on September 14, 2023, starting at
  10:00 a.m. (Atlantic Standard Time). The Debtors shall file a notice identifying the Successful
  Bidder with the Bankruptcy Court promptly following the conclusion of the Auction, but in no
  event later than 24 hours following the conclusion of the Auction, and serve such notice upon
  parties in interest. If no auction takes place, but there is a Successful Bidder(s), the Debtors shall
  file the Notice of Successful Bidder(s) no later than 24 hours after the Successful Bidder(s) is/are
  identified. If you would like to ensure receipt of the Notice of Successful Bidder(s) by email, please
  provide your email address to Lugo Mender Group, LLC, (Attn: Wigberto Lugo Mender
  (wlugo@lugmender.com) and Alexis Betancourt Vincenty (a_betancourt@lugomender.com)).

         6.     The deadline for objecting to the assignment of the Potentially Assigned
  Agreements to such Successful Bidder on the basis of adequate assurance of future performance
  (“Adequate Assurance Objections”) shall be filed with the Clerk of the Bankruptcy Court and
  served on the Notice Parties by September 19, 2023 (the “Adequate Assurance Objection
  Deadline”). Objections related to conduct at the Auction, and the identity of the Successful Bidder
  must also be made by the Adequate Assurance Objection Deadline.

          7.     Unless an Assumption/Assignment Objection is timely and properly filed and
  served before the Assumption/Assignment Objection Deadline or an Adequate Assurance
  Objection is timely raised before the Adequate Assurance Objection Deadline, the non-Debtor
  party to a Potentially Assigned Agreement shall (a) be forever barred from objecting to the Cure
  Amount and from asserting any additional cure or other amounts with respect to such Potentially
  Assigned Agreement, and the Debtors and the Successful Bidder(s) shall be entitled to rely solely


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  upon the Cure Amount; (b) be deemed to have consented to any assumption and assignment of
  such Potentially Assigned Agreement; and (c) be forever barred and estopped from asserting or
  claiming against the Debtors or the Successful Bidder(s) that any additional amounts are due or
  other defaults exist, that conditions to assignment must be satisfied under such Potentially
  Assigned Agreement or that there is any objection or defense to the assumption and assignment of
  such Potentially Assigned Agreement. In addition, the proposed Cure Amount set forth in
  Schedule A hereto shall be binding upon the non-Debtor parties to the Potentially Assigned
  Agreements for all purposes in the Chapter 11 Cases and will constitute a final determination of
  the Cure Amounts required to be paid by the Debtors in connection with any assumption and
  assignment of the Potentially Assigned Agreements; provided that the non-Debtor parties to the
  Assumed Contracts shall not be barred from asserting amounts on account of any defaults under
  such agreements that occur between the service of the Cure Schedule and the assumption of such
  agreements.

          8.      Where a non-Debtor counterparty to a Potentially Assigned Agreement timely and
  properly files an objection asserting a cure amount higher or different than the proposed Cure
  Amount, (the “Disputed Cure Amount”), then (a) the cure amount shall be as agreed between the
  parties or (b) to the extent the parties are unable to consensually resolve the dispute, then such
  objection will be adjudicated at the Sale Hearing or at such other date and time as may be agreed
  to by the Debtors and the non-Debtor counterparty, or fixed by the Court. All other objections to
  the proposed assumption and assignment of a Potentially Assigned Agreement will likewise be
  heard at the Sale Hearing, unless adjourned by agreement of the parties.

          9.     An Assumption/Assignment Objection shall not constitute an objection to the relief
  generally requested in the Bidding Procedures and Sale Motion. Parties wishing to otherwise
  object to the relief requested in the Bidding Procedures and Sale Motion must file and serve a
  separate objection, stating with particularity such party’s grounds for objection, on each of the
  Notice Parties listed above no later than fourteen (14) calendar days after service of the
  Assumption and Assignment Notice at 4:00 p.m. (Atlantic Standard Time).

          10.    If you agree with the Cure Amount indicated on Schedule A, and otherwise do not
  object to the Debtors’ assignment of your lease or contract, you need not take any further action.

          11.     The Debtors’ decision to assume and assign the Potentially Assigned Agreements
  is subject to Bankruptcy Court approval and consummation of the sale of the Assets.

          12.    Copies of the Bidding Procedures and Sale Motion and the Bidding Procedures
  Order, form of Asset Purchase Agreement and form of proposed Sale Order are on file with the
  Clerk of the Bankruptcy Court, 300 Calle del Recinto S STE 109, San Juan, PR 00901-1964 and
  are available on the Debtors’ claims and noticing agent’s website free of charge at
  https://dm.epiq11.com/case/grupohima/info under the link for Sale Documents.




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         Inclusion of any document on the list of Potentially Assigned Agreements shall not
  constitute or be deemed to be a determination or admission by the Debtors or the Successful
  Bidder(s) that such document is, in fact, an executory contract or unexpired lease within the
  meaning of the Bankruptcy Code, and all rights with respect thereto are being expressly
  reserved.

                                    [signature page follows]

                                    Lugo Mender Group, LLC



   Dated: August 28, 2023
          San Juan, Puerto Rico

                                    /s/wlugo@lugomender.com

                                    Wigberto Lugo Mender

                                    USDC-PR 212304

                                    Proposed Counsel for Debtors and Debtors in Possession




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                                           Schedule A

                                            LEASES

     Landlord Name / Address        Address of Subject Property         Cure Amount

  Leila Gonzalez Vazquez and          Rented Parking Lot          None – Up To Date

  Maria Gonzalez Vazquez              Humacao Facility

  Extensión San Antonio
  Calle 10 L14
  Humacao, PR 00791

  Sucesion Ernestina Peña             Rented Record Building      None – Up to Date
  Urbanizacion Bairoa                 Humacao Facility
  Golden Gate 1
  Calle B B-63
  Caguas, PR 00727-1131

                                   EXECUTORY CONTRACTS

   Counterparty Name / Address         Description of Contract          Cure Amount

  Canon Financial Services, Inc.      Refer To Exhibit Attached
  158 Gaither Drive, Suite 200
  Mount Laurel, NJ 08054-1716

  COMMERCIAL EQUIPMENT FINANCE, INC.
  650 Muñoz Rivera Ave. Suite 101
  San Juan, PR 00918

  Puerto Rico Sales & Medial Service
  Sabana Abajo Industrial Park
  1406 Calle Río Danubio
  Carolina, PR 00982-1706

  ISLA LAB PRODUCTS, LLC
  PO Box 361810
  San Juan, PR 00936-1810

  Beckman Coulter Puerto Rico, Inc.
  PMB 339 HC-01 Box 29030
  Caguas, PR 00725
  Bio-Nuclear
  PO Box 190639
  San Juan, PR 00919-0639
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EQUIPMENT UNDER CAPITAL LEASE

 Facility ID   Asset ID   Year          Asset Label         Serial Number   Asset Description                           Loan Number           Vendor Name                 Department ID   Comment



Contract Number ‐ CANON #823205‐02 Date 2/1/2021 Balance ‐ $365,466.90
 BAYAMON       013426     2021          20210434            8LA20X2091      CT AQUILON PRIME SP                         CANON #823205‐02      MEDIKA INTERNATIONAL INC*       5000        Letter Pay Off

Contract Number ‐ CANON #823205‐04 Date 5/1/2019 Balance ‐ $575,672.29
 BAYAMON       013681     2022                                              ALPHENIX CORE VASCULAR SYSTEM               CANON #823205‐04      MEDIKA INTERNATIONAL INC*       5100        Pending ‐ Letter Pay Off

Contract Number ‐ CANON #823205‐05 Date 2/1/2021 Balance ‐ $111,496
 BAYAMON       013676     2021          20202578                            DR TABLE SOLUTION/CANON CXD1‐702            CANON #823205‐05      MEDIKA INTERNATIONAL INC*       5000        Pending ‐ Letter Pay Off
 BAYAMON                  2021          20202579                            DR TABLE SOLUTION/CANON CXD1‐703            CANON #823205‐05      MEDIKA INTERNATIONAL INC*       5001        Pending ‐ Letter Pay Off
 BAYAMON                  2021          20202580                            DR TABLE SOLUTION/CANON CXD1‐704            CANON #823205‐05      MEDIKA INTERNATIONAL INC*       5002        Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐009 7/30/2019 Balance ‐ $184,474.61
 BAYAMON       012942     2019                                              DATA CENTER HPE 3PAR 8440 4 NODES‐HSPB      CEFI #10316‐009       CPCORP, INC                     0000        Letter Pay Off

Contract Number ‐ CEFI #10316‐010 7/1/2020 Balance ‐ $121,208.72 (Balance includes equipment in other facilities)
 BAYAMON       013398     2020                                              HARD DRIVE 6TB                              CEFI #10316‐010       CPCORP, INC                     0000        Letter Pay Off
 BAYAMON       013402     2020                                              HARD DRIVE 6TB                              CEFI #10316‐010       CPCORP, INC                     0000        Equipment Trasfer from HSPF to HSPB
 BAYAMON       013398     2020          20200626           2M202907B9       HPE STORE EASY 166 PERFORMANCE STORAGE      CEFI #10316‐010       CPCORP, INC                     0000        Letter Pay Off
 BAYAMON       013401     2020          20200625           2M202907B7       HPE STORE EASY 166 PERFORMANCE STORAGE      CEFI #10316‐010       CPCORP, INC                     0000        Equipment Trasfer from HSPF to HSPB
 BAYAMON       013397     2020                                              HPE SYNERGY 1200 SERVERS HSPB               CEFI #10316‐010       CPCORP, INC                     0000        Letter Pay Off

Contract Number ‐ CEFI #2900601‐L15 5/1/2019 Balance ‐ $17,303.46
 BAYAMON       013039     2019          20192490                            CENTRAL STATION SOFT COMP. & INSTALLATION   CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6104        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192491                            CENTRAL STATION SOFT COMP. & INSTALLATION   CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6104        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192492                            CENTRAL STATION SOFT COMP. & INSTALLATION   CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6104        Pending ‐ Letter Pay Off
 BAYAMON       013036     2019          20192537                            CENTRAL STATION SOFTWARE & INSTALLATION     CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6330        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192538                            CENTRAL STATION SOFTWARE & INSTALLATION     CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6330        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192539                            CENTRAL STATION SOFTWARE & INSTALLATION     CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6330        Pending ‐ Letter Pay Off
 BAYAMON       013041     2019          20192509                            CENTRAL STATION SOFTWARE & INSTALL‐COMP     CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6130        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192510                            CENTRAL STATION SOFTWARE & INSTALL‐COMP     CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6130        Pending ‐ Letter Pay Off
 BAYAMON       012928     2019          20192738                            CENTRAL STATION SOFTWARE /MONITOR /COMP.    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6130        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192739                            CENTRAL STATION SOFTWARE /MONITOR /COMP.    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6130        Pending ‐ Letter Pay Off
 BAYAMON       012825     2019          20192238           M19205720002     CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192239                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192240                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192241                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192242                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192243                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192244                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192245                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192246                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192247                            CENTRAL STATION SOFTWARE MONITORS           CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6106        Pending ‐ Letter Pay Off
 BAYAMON       012823     2019          20192289                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192290                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192291                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192292                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192293                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192294                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192295                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192296                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192297                            CENTRAL STATION SOFTWARE PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           8000        Pending ‐ Letter Pay Off
 BAYAMON       012833     2019          20192360           M19308620005     CENTRAL STATION SOFTWARE/PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6300        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192361                            CENTRAL STATION SOFTWARE/PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6300        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192362                            CENTRAL STATION SOFTWARE/PATIENT MONITOR    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6300        Pending ‐ Letter Pay Off
 BAYAMON       013035     2019          20192515                            ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6330        Pending ‐ Letter Pay Off
 BAYAMON                  2019          20192516                            ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL    CEFI 2900601‐L15      PELEGRINA MEDICAL INC           6330        Pending ‐ Letter Pay Off




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Facility ID   Asset ID   Year   Asset Label    Serial Number   Asset Description                          Loan Number           Vendor Name             Department ID   Comment

BAYAMON                  2019   20192517                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192518                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192519                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192520                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192521                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192522                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192523                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192524                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192525                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192526                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192527                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192528                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192529                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192530                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192531                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192532                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192533                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192534                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192535                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192536                       ELLITE V5 MAIN UNIT 12.1 COLOR & MOD‐WAL   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON       012670     2019   20190967      M19109690004     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012671     2019   20190968      M19109690006     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012672     2019   20190969      M19412210007     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012673     2019   20190970      M19109690018     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012674     2019   20190971      M19109690005     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012675     2019   20190972       M1910960019     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012676     2019   20190973      M19109690011     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012677     2019   20190974      M19109690012     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012678     2019   20190975      M19109690010     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012679     2019   20190976      M19109690017     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012680     2019   20190977       M1941220003     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012681     2019   20190978       M1910960001     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012682     2019   20190979       M1910960003     FETAL MONITOR EDAN F9 EXPRESS AND BATERY   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       013031     2019   20192540                       M3B SIDESTREAM ETC02                       CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192541                       M3B SIDESTREAM ETC02                       CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192542                       M3B SIDESTREAM ETC02                       CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192543                       M3B SIDESTREAM ETC02                       CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON       012803     2019                 M19413090015     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012804     2019                 M19413090014     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012805     2019                 M19413090016     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012806     2019                 M19413090012     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012807     2019                 M19413090013     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012808     2019                 M19413090011     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012809     2019                 M19413090020     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012810     2019                 M19413090019     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012811     2019                 M19413090017     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012812     2019                 M19413090018     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012813     2019                 M19413090001     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012814     2019                 M19413090004     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012815     2019                 M19413090003     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012816     2019                 M19413090005     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012817     2019                 M19413090002     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012818     2019                 M19413090010     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012819     2019                 M19413090009     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012820     2019                 M19413090008     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012821     2019                 M19413090006     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012822     2019                 M19413090007     MONITOR CARDIACO ELITE V5 ECG              CEFI 2900601‐L15      PELEGRINA MEDICAL INC       8000        Pending ‐ Letter Pay Off
BAYAMON       012832     2019   20192343      M19507110017     MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192344                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192345                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192346                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192347                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192348                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192349                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192350                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192351                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192352                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192353                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192354                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off




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Facility ID   Asset ID   Year   Asset Label    Serial Number   Asset Description                          Loan Number           Vendor Name             Department ID   Comment

BAYAMON                  2019   20192355                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192356                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192357                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192358                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192359                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192344                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192345                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192346                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192347                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192348                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192349                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192350                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192351                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192352                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192353                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192354                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192355                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192356                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192357                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192358                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192359                       MONITOR CARDIACO ELITE V5 ECG 12.1" (17)   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6300        Pending ‐ Letter Pay Off
BAYAMON       013030     2019   20192548                       MONITOR M80 15 TFT COLOR & BASKET          CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192549                       MONITOR M80 15 TFT COLOR & BASKET          CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192550                       MONITOR M80 15 TFT COLOR & BASKET          CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON       013033     2019   20192551                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5100        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192552                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5100        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192553                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5100        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192554                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5100        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192555                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5100        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192556                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5100        Pending ‐ Letter Pay Off
BAYAMON       013034     2019   20192558                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7000        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192559                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7000        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192560                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7000        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192561                       MONITOR M80 15 TFT COLOR DISPLAY           CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7000        Pending ‐ Letter Pay Off
BAYAMON       012826     2019                 M19706790004     MONITOR M80 15" TFT COLOR DISPLAY          CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7010        Pending ‐ Letter Pay Off
BAYAMON       012830     2019   20192468                       MONITOR M80 15" TFT COLOR DISPLAY (4)      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192469                       MONITOR M80 15" TFT COLOR DISPLAY (4)      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192470                       MONITOR M80 15" TFT COLOR DISPLAY (4)      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192471                       MONITOR M80 15" TFT COLOR DISPLAY (4)      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012824     2019   20192222      M19413150023     MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192222                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192223                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192224                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192225                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192226                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192227                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192228                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192229                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192230                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192231                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192232                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192233                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192234                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192235                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192236                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192237                       MONITOR TELEMETRIA ECG + SPO2 (16)         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6106        Pending ‐ Letter Pay Off
BAYAMON       012927     2019   20192726                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192727                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192728                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192729                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192730                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192731                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192732                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192733                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192734                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192735                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192736                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192737                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192727                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off




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Facility ID   Asset ID   Year   Asset Label    Serial Number   Asset Description                          Loan Number           Vendor Name             Department ID   Comment

BAYAMON                  2019   20192728                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192729                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192730                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192731                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192732                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192733                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192734                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192735                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192736                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192737                       MONITOR TELEMETRY ECG SPO2 (12)            CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON       012831     2019                  10102019/4      PRINTER M50/M80 THERMAL (4)                CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       013032     2019   20192544                       RESPIRONICS LOFLO CO2 SIDESTREAM ACCESOR   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192545                       RESPIRONICS LOFLO CO2 SIDESTREAM ACCESOR   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192546                       RESPIRONICS LOFLO CO2 SIDESTREAM ACCESOR   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192547                       RESPIRONICS LOFLO CO2 SIDESTREAM ACCESOR   CEFI 2900601‐L15      PELEGRINA MEDICAL INC       5110        Pending ‐ Letter Pay Off
BAYAMON       013040     2019   20192493                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192494                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192495                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192496                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192497                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192498                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192499                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192500                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192501                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192502                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192503                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192504                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192505                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192506                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192507                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192508                       TELEMETRY MONITOR ECG SPO2                 CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6130        Pending ‐ Letter Pay Off
BAYAMON       013038     2019   20192365                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192366                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192367                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192368                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192369                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192370                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192371                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192372                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192373                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192374                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192375                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192376                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192377                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192378                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192379                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192380                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192381                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192382                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192383                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192384                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192385                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192386                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192387                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192388                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON                  2019   20192389                       TELEMETRY TRANSMITTER                      CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6104        Pending ‐ Letter Pay Off
BAYAMON       013037     2019                                  V‐CO2 MODULE SIDESTREAM ACCESORIES         CEFI 2900601‐L15      PELEGRINA MEDICAL INC       6330        Pending ‐ Letter Pay Off
BAYAMON       012561     2019   20190961      M18B13730006     MONITOR M80 15"TFT COLOR DISPLAY 5‐LEAD    CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012562     2019   20190962      M18B13730001     MONITOR M80 15"TFT COLOR DISPLAY 5‐LEAD    CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012563     2019   20190963      M19413120001     MONITOR M80 15"TFT COLOR DISPLAY 5‐LEAD    CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012564     2019   20190964      M19413120003     MONITOR M80 15"TFT COLOR DISPLAY 5‐LEAD    CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012565     2019   20190965      M18B13730004     MONITOR M80 15"TFT COLOR DISPLAY 5‐LEAD    CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012566     2019   20190966      M19413120004     MONITOR M80 15"TFT COLOR DISPLAY 5‐LEAD    CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012567     2019                 06/06/2019(7)    PRINTER THERMAL (M50/M80)                  CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012568     2019                  06062019(5)     PRINTER THERMAL (M50/M80)                  CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012569     2019                  06062019(9)     PRINTER THERMAL (M50/M80)                  CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012570     2019                  06062019(1)     PRINTER THERMAL (M50/M80)                  CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012571     2019                  06062019(2)     PRINTER THERMAL (M50/M80)                  CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off
BAYAMON       012572     2019                  06062019(3)     PRINTER THERMAL (M50/M80)                  CEFI 2900601‐L15      PELEGRINA MEDICAL INC       7050        Pending ‐ Letter Pay Off




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 Facility ID   Asset ID   Year          Asset Label         Serial Number   Asset Description                         Loan Number           Vendor Name                     Department ID   Comment



Contract Number ‐ CEFI #2900601‐L20 9/1/2019 Balance ‐ $13,573.58
 BAYAMON       012793     2019          20191480                            TORRE DE LAPAROSCOPIA                     CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191481                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191482                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191483                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191484                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191485                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191486                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191487                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191488                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON       012794     2019          20191488                            TORRE DE LAPAROSCOPIA                     CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191489                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191490                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191491                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191492                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191493                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191494                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON       012795     2019          20192208                            TORRE DE LAPAROSCOPIA                     CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192209                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192210                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192211                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192212                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192213                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192214                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192215                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192216                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192217                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192218                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON       012796     2019          20192201                            TORRE DE LAPAROSCOPIA                     CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192202                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192203                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192204                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192205                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192206                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20192207                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON       012797     2019          20191462                            TORRE DE LAPAROSCOPIA                     CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191463                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191464                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191465                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191466                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191467                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191468                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191469                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191470                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON       012798     2019          20191471                            TORRE DE LAPAROSCOPIA                     CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191472                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191473                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191474                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191475                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191476                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191477                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191478                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191479                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off
 BAYAMON                  2019          20191480                            TORRE DE LAPAROSCOPIA (Item)              CEFI 2900601‐L20      PUERTO RICO HOSPITAL SUPPLY**       7000        Letter Pay Off

Contract Number ‐ CEFI #2900601‐L23 12/21/2020 Balance ‐ $143,181.04 (Balance includes equipment in other facilities)
 BAYAMON       013267     2020          20191471                            ARUBA WIFI AIRWAVE                        CEFI 2900601‐L23      CPCORP, INC                         0120        Letter Pay Off

Contract Number ‐ CEFI #2900601‐L24 4/1/2021 Balance ‐ $217.874.73 (Balance includes equipment in other facilities)
BAYAMON        013678     2021          20210623            500860057       GE LOGIQ E10 ‐ 5 TRANSDUCERS CT           CEFI 2900601‐L24      FELIX E DIAZ SIERRA *               5000        Pending ‐ Letter Pay Off
BAYAMON        013677     2021          20210622            502483US7       GE LOGIQ E10 ‐ 7 TRANSDUCERS CT           CEFI 2900601‐L24      FELIX E DIAZ SIERRA *               5000        Pending ‐ Letter Pay Off
BAYAMON        013679     2021          20210733            302975WX8       GE LOGIQ‐e BT12 SISTEMA IMAGENES          CEFI 2900601‐L24      FELIX E DIAZ SIERRA *               5000        Pending ‐ Letter Pay Off
BAYAMON        013680     2021          20210738             AU50663        GE VIVID E95 REV 202 CARDIO SYSTEM        CEFI 2900601‐L24      FELIX E DIAZ SIERRA *               5100        Pending ‐ Letter Pay Off
BAYAMON        013518     2021          20211040            002990560       GE VIVID T8 R2.5 REFURBISHED ULTRASOUND   CEFI 2900601‐L24      FELIX E DIAZ SIERRA *               5559        Assign to Red Medica Bayamon

Contract Number ‐ 5572 ‐ Balance Pending to Completion ($66,960.00)




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 Facility ID   Asset ID   Year           Asset Label         Serial Number   Asset Description                                  Loan Number        Vendor Name                   Department ID   Comment

 BAYAMON                                                                     HEMATOLOGY SYSTEM MINDRAY BC‐5390                  ISLA LAB 5572      ISLA LAB PRODUCTS, LLC                        Installed Pending Equipment Calibration

Contract Number ‐ 5588 ‐ Balance Pending to Completion ($351,720.00)
 BAYAMON                                                                     ONE (1) COBAS 6000 (c501 MODULE AND e601 MODULE)   ISLA LAB 5588      ISLA LAB PRODUCTS, LLC                        Pending Equipment Delivery

Contract Number ‐ PR Sales #1 12/1/2019 Balance ‐ $222,150.16
 BAYAMON       013167     2019                                   5343        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013168     2019                                   5619        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013169     2019                                   5626        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013170     2019                                   5649        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013171     2019                                   5650        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013172     2019                                   5651        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013173     2019                                   5652        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013174     2019                                   5654        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013175     2019                                   5657        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013176     2019                                   5658        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013177     2019                                   5659        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013178     2019                                   5660        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013179     2019                                   5664        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013180     2019                                   5665        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013181     2019                                   5963        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013182     2019                                   5964        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013183     2019                                   5965        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013184     2019                                   5966        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013185     2019                                   5967        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       013186     2019                                   5968        HAMILTON MED C‐3 VENTILATORY                       PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012541     2019           20190984               18246        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012542     2019           20190985               18241        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012544     2019           20190987               18265        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012545     2019           20190988               18258        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012547     2019           20190990               18249        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012554     2019           20190997               18259        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012555     2019           20190998               18259        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012556     2019           20190999               18255        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012557     2019           20191189               18251        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012558     2019           20191190                            HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off
 BAYAMON       012559     2019           20191191               18260        HAMILTON MEDICAL C‐1 VENTILATOR                    PR SALES #1        PUERTO RICO SALES & SERVICE       5250        Letter Pay Off

Contract Number ‐ PR Sales #2 9/22/2021 Balance ‐ $1,081.351.00 (Balance includes equipment in other facilities)
 BAYAMON       013684     2021           20210163               7798         USA HAMILTON C‐6 VENTILATOR                        PR SALES #2        PUERTO RICO SALES & SERVICE       5250        Equipment Trasfer from HSPF to HSPB
 BAYAMON       013685     2021           20210173               7783         USA HAMILTON C‐6 VENTILATOR                        PR SALES #2        PUERTO RICO SALES & SERVICE       5250        Equipment Trasfer from HSPF to HSPB
 BAYAMON       013686     2021           20210174               7788         USA HAMILTON C‐6 VENTILATOR                        PR SALES #2        PUERTO RICO SALES & SERVICE       5250        Equipment Trasfer from HSPF to HSPB
 BAYAMON       013687     2021           20210168               7806         USA HAMILTON C‐6 VENTILATOR                        PR SALES #2        PUERTO RICO SALES & SERVICE       5250        Equipment Trasfer from HSPF to HSPB
 BAYAMON       013688     2021           20210172               7801         USA HAMILTON C‐6 VENTILATOR                        PR SALES #2        PUERTO RICO SALES & SERVICE       5250        Equipment Trasfer from HSPF to HSPB

Contract Number ‐ N/A ‐ Balance Pending to Completion (See contract details) ($640,000)
 BAYAMON                  2023                                               ALPHENIX CORE VASCULAR SYSTEM                      CANON              MEDIKA INTERNATIONAL INC*                     Pending Equipment Installation




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EQUIPMENT UNDER CAPITAL LEASE

Facility ID   Asset ID   Year        Asset Label       Serial Number    Asset Description                          Loan Number                     Vendor Name                                  Department ID Comment


Contract Number ‐ CANON #823205‐05 Date 2/1/2021 Balance ‐ $111,496
 CAGUAS       013691     2021        20202581            2085523        DR TABLE SOLUTION/CANON CXD1‐702           CANON #823205‐05                MEDIKA INTERNATIONAL INC*                        5000     Pending ‐ Letter Pay Off
 CAGUAS                  2021        20202582                           DR TABLE SOLUTION/CANON CXD1‐702           CANON #823205‐05                MEDIKA INTERNATIONAL INC*                        5000     Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐008 7/30/2019 Balance ‐ $184,374.61
 CAGUAS       012941     2019                                           DATA CENTER HPE 3PAR 8440 4 NODES‐HSPC     CEFI #10316‐008                 CPCORP, INC                                      0000     Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐010 7/1/2020 Balance ‐ $121,208.72 (Balance includes equipment in other facilities)
 CAGUAS       013506     2021                                           HP 1X 64GB DDR4‐2666 MEMORIAS SYNERGY      CEFI #10316‐010                 GLOBAL MEMORY PROCUREMENT CORPORATION *          0300     Letter Pay Off
 CAGUAS       013406     2020        20200628‐2                         HARD DRIVE 6TB                             CEFI #10316‐010                 CPCORP, INC                                      0000     Letter Pay Off
 CAGUAS       013408     2020                                           HARD DRIVE 6TB                             CEFI #10316‐010                 CPCORP, INC                                      0000     Letter Pay Off
 CAGUAS       013410     2020                                           HARD DRIVE 6TB                             CEFI #10316‐010                 CPCORP, INC                                      0000     Letter Pay Off
 CAGUAS       013405     2020         20200628          2M202907B6      HPE STORE EASY 166 PERFORMANCE STORAG      CEFI #10316‐010                 CPCORP, INC                                      0000     Letter Pay Off
 CAGUAS       013407     2020         20200624          2M202907B4      HPE STORE EASY 166 PERFORMANCE STORAG      CEFI #10316‐010                 CPCORP, INC                                      0000     Letter Pay Off
 CAGUAS       013409     2020         20200627          2M202907B5      HPE STORE EASY 166 PERFORMANCE STORAG      CEFI #10316‐010                 CPCORP, INC                                      0000     Letter Pay Off

Contract Number ‐ CEFI #10316‐011 1/1/2021 Balance ‐ $197,690.00
 CAGUAS       013424     2020        20210100          MXQ0530234       HPE SYNERGY FRAMES                         CEFI #10316‐011                 CPCORP, INC                                      0000     Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐012 12/1/2021 Balance ‐ $243,099.75
 CAGUAS       013660     2021                                           STEALSTATION S8 PREMIUN                    CEFI #10316‐012                 MEDTRONICS PR OPERATION SO**                     7000     Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐013 7/1/2022 Balance ‐ $685,547.66
 CAGUAS       013695     2022         20211312     N30614084 /N30613624 STEALTHSTATION S8 NEUROSURGERY SYSTEM      CEFI #10316‐013                 MEDTRONICS PR OPERATION SO**                     7000     Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐014 8/1/2022 Balance ‐ $167,544.17
 CAGUAS                                                                 MIDAS CONSOLE                              CEFI #10316‐014                 MEDTRONICS M5027734                                       Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #10316‐015 9/1/2022 Balance ‐ $729,893.40
 CAGUAS                                                                 STEALTHSTATION S8 NEUROSURGERY SYSTEM      CEFI #10316‐015                 MEDTRONICS M5027613                                       Pending ‐ Letter Pay Off

Contract Number ‐ CEFI #2900601‐L17 5/1/2019Balance ‐ $23,512.00
 CAGUAS       013027     2019        20192769                           C‐CO2 MODULE SIDESTREAM ACCESORIES         CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            6310     Pending ‐ Letter Pay Off
 CAGUAS                  2020        20192770                           C‐CO2 MODULE SIDESTREAM ACCESORIES         CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            6310     Pending ‐ Letter Pay Off
 CAGUAS       013015     2019        20192845                           CENTRAL SOFTWARE STATION & INSTALLATION    CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            6340     Pending ‐ Letter Pay Off
 CAGUAS       013019     2019        20192789                           CENTRAL STATION SOFTWARE & INSTALLATION    CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            6320     Pending ‐ Letter Pay Off
 CAGUAS       013023     2019        20192651                           CENTRAL STATION SOFTWARE & INSTALLATION    CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            6320     Pending ‐ Letter Pay Off
 CAGUAS       013029     2019        20192771                           CENTRAL STATION SOFTWARE & INSTALLATION    CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            6310     Pending ‐ Letter Pay Off
 CAGUAS       012892     2019        20191842                           CENTRAL STATION SOFTWARE COMPUTER          CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            0000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20191843                           CENTRAL STATION SOFTWARE COMPUTER          CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            0000     Pending ‐ Letter Pay Off
 CAGUAS       012898     2019        20192597                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192598                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192599                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192500                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192501                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192502                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192503                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192504                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192505                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192506                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192507                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192508                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS                  2019        20192509                           CENTRAL STATION SOFTWARE PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            8000     Pending ‐ Letter Pay Off
 CAGUAS       012891     2019        20191800                           CENTRAL STATION SOFTWARE/PATIENT MONITOR   CEFI 2900601‐L17                PELEGRINA MEDICAL INC                            0000     Pending ‐ Letter Pay Off




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CAGUAS            2019   20191801             CENTRAL STATION SOFTWARE/PATIENT MONITOR   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        0001    Pending ‐ Letter Pay Off
CAGUAS            2019   20191802             CENTRAL STATION SOFTWARE/PATIENT MONITOR   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        0002    Pending ‐ Letter Pay Off
CAGUAS   012926   2019   20200015             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200016             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200017             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200018             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200019             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200020             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200021             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200022             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200023             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200024             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200025             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200026             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200027             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200028             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200029             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200030             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200031             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200032             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200033             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200034             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200035             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200036             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200037             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200038             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200039             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200040             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200041             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200042             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200043             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200044             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200045             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200046             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200047             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200048             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200049             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200050             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200051             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200052             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200053             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200054             CENTRAL STATION SOFTWARE/XM MODULE         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   013016   2019   20192780             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192781             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192782             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192783             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192784             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192785             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192786             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS   013026   2019   20192751             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192752             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192753             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192754             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192755             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192756             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192757             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192758             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192759             ELITE V5 MAIN UNIT 12.1 COLOR TOUCHSCREE   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS   013024   2019   20192679             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192680             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192681             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192682             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192683             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192684             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192685             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192686             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192687             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192688             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS            2019   20192689             FETAL MONITOR EDAN F9 EXPRESS & INSTALLA   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7010    Pending ‐ Letter Pay Off
CAGUAS   013012   2019   20192821             IM70 PATIENT MONITOR TOUCH SCREEN          CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192822             IM70 PATIENT MONITOR TOUCH SCREEN          CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192823             IM70 PATIENT MONITOR TOUCH SCREEN          CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off




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CAGUAS            2019   20192824                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192825                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192826                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192827                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192828                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192829                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192830                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192831                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192832                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192833                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192834                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192835                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192836                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192837                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192838                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192839                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192840                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192841                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192842                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192843                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192844                    IM70 PATIENT MONITOR TOUCH SCREEN         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS   011549   2018               M167011760010   MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011550   2018               M167011760030   MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011551   2018               M16701760034    MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011552   2018               M17101610022    MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011553   2018               M17101610030    MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011554   2018               M17101610039    MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011555   2018               M16701760006    MONITOR M50 8.4 COLOR TFT LCD             CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   012849   2019   20192011     M1900850017    MONITOR M50 8.4" COLOR TFT LCD            CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6130    Pending ‐ Letter Pay Off
CAGUAS   012848   2019   20192450    M19403390015    MONITOR M50 8.4" COLOR TFT LCD (5)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS            2019   20192451                    MONITOR M50 8.4" COLOR TFT LCD (5)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS            2019   20192452                    MONITOR M50 8.4" COLOR TFT LCD (5)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS            2019   20192453                    MONITOR M50 8.4" COLOR TFT LCD (5)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS            2019   20192454                    MONITOR M50 8.4" COLOR TFT LCD (5)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS   012850   2019   20192110                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192111                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192112                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192113                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192114                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192115                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192116                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192117                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192118                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192119                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192120                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192121                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192122                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192123                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS            2019   20192124                    MONITOR M50 8.4" TFT LCD ACCESORIES (5)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7040    Pending ‐ Letter Pay Off
CAGUAS   013025   2019   20192613                    MONITOR M80 15 COLOR DISPLAY              CEFI 2900601‐L17             PELEGRINA MEDICAL INC        5100    Pending ‐ Letter Pay Off
CAGUAS            2019   20192614                    MONITOR M80 15 COLOR DISPLAY              CEFI 2900601‐L17             PELEGRINA MEDICAL INC        5100    Pending ‐ Letter Pay Off
CAGUAS            2019   20192615                    MONITOR M80 15 COLOR DISPLAY              CEFI 2900601‐L17             PELEGRINA MEDICAL INC        5100    Pending ‐ Letter Pay Off
CAGUAS            2019   20192616                    MONITOR M80 15 COLOR DISPLAY              CEFI 2900601‐L17             PELEGRINA MEDICAL INC        5100    Pending ‐ Letter Pay Off
CAGUAS   012893   2019   20192620                    MONITOR M80 15" TFT COLOR DISPLAY         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192621                    MONITOR M80 15" TFT COLOR DISPLAY         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192622                    MONITOR M80 15" TFT COLOR DISPLAY         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192623                    MONITOR M80 15" TFT COLOR DISPLAY         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192624                    MONITOR M80 15" TFT COLOR DISPLAY         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192625                    MONITOR M80 15" TFT COLOR DISPLAY         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7000    Pending ‐ Letter Pay Off
CAGUAS   012895   2019   20192628                    MONITOR M80 15"TFT COLOR DISPLAY (2)      CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS            2019   20192629                    MONITOR M80 15"TFT COLOR DISPLAY (2)      CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS   012894   2019   20192626                    MONITOR M80 15"TFT COLOR LCD              CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS            2019   20192627                    MONITOR M80 15"TFT COLOR LCD              CEFI 2900601‐L17             PELEGRINA MEDICAL INC        7050    Pending ‐ Letter Pay Off
CAGUAS   012892   2019   20191815                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191816                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191817                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191818                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191819                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191820                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191821                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191822                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191823                    MONITOR TELEMETRIA ECG + SPO2 (26)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off




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CAGUAS            2019   20191824             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191825             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191826             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191827             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191828             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191829             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191830             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191831             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191832             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191833             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191834             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191835             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191836             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191837             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191838             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191839             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191840             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS            2019   20191841             MONITOR TELEMETRIA ECG + SPO2 (26)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6105    Pending ‐ Letter Pay Off
CAGUAS   012891   2019   20191744             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191745             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191746             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191747             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191748             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191749             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191750             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191751             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191752             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191753             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191754             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191755             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191756             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191757             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191758             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191759             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191760             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191761             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191762             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191763             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191764             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191765             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191766             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191767             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191768             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191769             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191770             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191771             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191772             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191773             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191774             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191775             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191776             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191777             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191778             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191779             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191780             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191781             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191782             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191783             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191784             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191785             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191786             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191787             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191788             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191789             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191790             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191791             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191792             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191793             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191794             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191795             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191796             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191797             MONITOR TELEMETRIA ECG + SPO2 (54)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off




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CAGUAS            2019   20191798             MONITOR TELEMETRIA ECG + SPO2 (54)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS            2019   20191799             MONITOR TELEMETRIA ECG + SPO2 (54)        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6104    Pending ‐ Letter Pay Off
CAGUAS   012897   2019   20192577             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192578             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192579             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192580             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192581             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192582             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192583             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192584             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192585             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192586             MONITOR V5 MAIN UNIT COL.TFT TOUCH (10)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   012923   2019   20200055             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200056             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200057             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200058             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200059             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200060             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200061             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200062             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200063             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200064             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200065             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200066             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200067             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200068             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200069             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200070             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200071             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200072             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200073             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200074             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200075             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200076             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200077             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200078             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200079             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200080             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200081             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200082             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200083             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200084             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200085             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200086             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200087             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200088             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200089             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200090             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200091             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200092             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200093             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200094             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200095             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200096             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200097             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200098             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200099             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200100             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200101             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200102             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200103             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200104             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200105             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200106             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200107             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200108             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200109             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200110             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200111             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200112             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200113             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200114             MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off




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CAGUAS            2019   20200115                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200116                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200117                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200118                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200119                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200120                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200121                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200122                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200123                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200124                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200125                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200126                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200127                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200128                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200129                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200130                    MONITOR V5 MAIN UNIT COL.TFT TOUCH (38)   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   012896   2019   20192660                    MONITOR VE 12.1" TFT WITH PRINTER         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192661                    MONITOR VE 12.1" TFT WITH PRINTER         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192662                    MONITOR VE 12.1" TFT WITH PRINTER         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192663                    MONITOR VE 12.1" TFT WITH PRINTER         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192664                    MONITOR VE 12.1" TFT WITH PRINTER         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20192665                    MONITOR VE 12.1" TFT WITH PRINTER         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   013028   2019   20192692                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192693                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192694                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192695                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192696                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192697                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192698                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192699                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS            2019   20192700                    MOUNTWALL W/BASKET                        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6310    Pending ‐ Letter Pay Off
CAGUAS   011734   2018               M17603380087    PRINTER THERMAL M50/M80                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   011735   2018               M176033380088   PRINTER THERMAL M50/M80                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   011736   2018               M17603380091    PRINTER THERMAL M50/M80                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   013014   2019   20192846                    RESPIRONICS LOFLO CO2 MODULE & ACCES      CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192847                    RESPIRONICS LOFLO CO2 MODULE & ACCES      CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS   011556   2018               M17052560109    THERMAL PRINTER (M50/M80)                 CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011557   2018               M17052560118    THERMAL PRINTER (M50/M80)                 CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011558   2018               M15052560120    THERMAL PRINTER (M50/M80)                 CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   011559   2018               M17052560197    THERMAL PRINTER (M50/M80)                 CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6000    Pending ‐ Letter Pay Off
CAGUAS   013020   2019   20192641                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192642                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192643                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192644                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192645                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192646                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192647                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192648                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192649                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192650                    V5 MAIN UNIT 1.1 COLOR TOUCHSCREEN        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS   013017   2019   20190787                    V‐CO2 MODULE SIDE STREAM ACCESORIES       CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192788                    V‐CO2 MODULE SIDE STREAM ACCESORIES       CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS   012924   2019   20200135                    V‐CO2 MODULE SIDESTREAM                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200136                    V‐CO2 MODULE SIDESTREAM                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200137                    V‐CO2 MODULE SIDESTREAM                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS            2019   20200138                    V‐CO2 MODULE SIDESTREAM                   CEFI 2900601‐L17             PELEGRINA MEDICAL INC        8000    Pending ‐ Letter Pay Off
CAGUAS   013021   2019   20192652                    V‐CO2 MODULE SIDESTREAM ACCESORIES        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS            2019   20192653                    V‐CO2 MODULE SIDESTREAM ACCESORIES        CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6320    Pending ‐ Letter Pay Off
CAGUAS   013013   2019   20192797                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192798                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192799                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192800                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192801                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192802                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192803                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192804                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192805                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192806                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192807                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192808                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192809                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off
CAGUAS            2019   20192810                    WALL MOUNT BASKET                         CEFI 2900601‐L17             PELEGRINA MEDICAL INC        6340    Pending ‐ Letter Pay Off




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                                                       Case:23-02510-ESL11 Doc#:112 Filed:08/28/23 Entered:08/28/23 18:42:00                                        Desc: Main
                                                                                  Document Page 19 of 23
HSP FAJARDO
LEASES
5/31/2023

                                                                                                                                                                                                                  Deuda
               Asset      Serial                                                                                                                       Place in Service
  Asset ID                                    Asset Description              Extended Asset Description           Vendor Name             Department                          Cost Basis      Book Value       Prorrateada     COMENTARIOS
               Label     Number                                                                                                                             Date
                                                                                                                                                                                                                5/31/2023

   12546      20190989     18247     HAMILTON MEDICAL C‐1 VENTILATOR    HAMILTON MEDICAL C‐1 VENTILATOR   PUERTO RICO SALES & SERVICE        5250         7/3/2019              11,975.00         7,284.80          4,156.63 DEUDA BAYAMON
   12548      20190991     18240     HAMILTON MEDICAL C‐1 VENTILATOR    HAMILTON MEDICAL C‐1 VENTILATOR   PUERTO RICO SALES & SERVICE        5250         7/3/2019              11,975.00         7,284.80          4,156.63 DEUDA BAYAMON
   12550      20190993     18261     HAMILTON MEDICAL C‐1 VENTILATOR    HAMILTON MEDICAL C‐1 VENTILATOR   PUERTO RICO SALES & SERVICE        5250         7/3/2019              11,975.00         7,284.80          4,156.63 DEUDA BAYAMON
   12551      20190994     18248     HAMILTON MEDICAL C‐1 VENTILATOR    HAMILTON MEDICAL C‐1 VENTILATOR   PUERTO RICO SALES & SERVICE        5250         7/3/2019              11,975.00         7,284.80          4,156.63 DEUDA BAYAMON
   12552      20190995     18252     HAMILTON MEDICAL C‐1 VENTILATOR    HAMILTON MEDICAL C‐1 VENTILATOR   PUERTO RICO SALES & SERVICE        5250         7/3/2019              11,975.00         7,284.80          4,156.63 DEUDA BAYAMON
   12655      20191982   915347‐06   CER‐2 OPTIMA BASE REPROCESSOR      CEFI #10316‐006                   ENDOSCOPY MEDICAL SYSTEM           7000         8/1/2018              24,094.14           803.12                   RENTA BAYAMON
   12656      20191983    22315‐1    CER‐2 OPTIMA MOBILE CART           CEFI #10316‐006                   ENDOSCOPY MEDICAL SYSTEM           7000         8/1/2018               1,850.00            61.68                   RENTA BAYAMON
   13268                             WIFI ARUBA AIRWAVE                 CEFI 2900601‐L23                  CPCORP, INC                         120        12/21/2020            114,772.26        57,386.14         20,018.39 DEUDA CMT
   13289                             TORRE LAPAROSCOPIA                 CEFI 2900601‐L21                  PUERTO RICO HOSPITAL SUPPLY**      7000        10/21/2020             91,041.67        42,486.13          6,777.98 DEUDA FAJARDO
   13682      20202572   2085516     DR TABLE SOLUTION/CANON CXD1‐702   CANON MEDICAL FINANCE             MEDIKA INTERNATIONAL INC*          5000        12/21/2020             29,800.00        14,899.99         18,582.50 DEUDA CAGUAS
   13683                             GE VIVID T8 R2.5 ULTRASOUND        CEFI 2900601‐L24                  FELIX E DIAZ SIERRA *              5000        1/31/2023              27,666.00        25,360.50         11,719.53 DEUDA CAGUAS

                                                                                                                                                                          $    349,099.07 $     177,421.56 $       77,881.57
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Facility ID   Asset ID   Year      Asset Label          Serial Number   Asset Description                        Loan Number        Vendor Name                     Department ID
                                                                                                                                                                                    Comment

Contract Number ‐ CANON #823205‐03 Balance ‐ $295,740.00
HUMACAO                                                                 CT AQUILON PRIME SP                      CANON #823205‐03   MEDIKA INTERNATIONAL INC*

Contract Number ‐ CEFI #10316‐010 7/1/2020 Balance ‐ $121,208.72 (Balance includes equipment in other facilities)
HUMACAO       013404     2020                                           HARD DRIVE 6TB                           CEFI #10316‐010    CPCORP, INC                         0000
HUMACAO       013403     2020       20200629            2M202907B8      HPE STORE EASY 166 PERFORMANCE STORAGE   CEFI #10316‐010    CPCORP, INC                         0000

Contract Number ‐ CEFI #2900601‐L19 Balance ‐ $3,903.80
HUMACAO       012791     2019       20192000                            TORRE DE LAPAROSCOPIA                    CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192001                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192002                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192003                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192004                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192005                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192006                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192007                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192008                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192008                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192009                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192010                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO       012792     2019       20192100                            TORRE DE LAPAROSCOPIA                    CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192101                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192102                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192103                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192104                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192105                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192106                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192107                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192108                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000
HUMACAO                  2019       20192109                            TORRE DE LAPAROSCOPIA (Item)             CEFI 2900601‐L19   PUERTO RICO HOSPITAL SUPPLY**       7000

Contract Number ‐ CEFI #2900601‐L23 12/21/2020 Balance ‐ $143,181.04 (Balance includes equipment in other facilities)
HUMACAO       013269     2020                                           WIFI ARUBA AIRWAVE                       CEFI 2900601‐L23   CPCORP, INC                         0120

Contract Number ‐ CEFI #2900601‐L24 4/1/2021 Balance ‐ $217.874.73 (Balance includes equipment in other facilities)
HUMACAO       013646     2021       20220735             622245WXO      GE IQ PREMIUM REFURBISHED                CEFI 2900601‐L24   FELIX E DIAZ SIERRA *               5000

Contract Number ‐ PR Sales #1 12/1/2019 Balance ‐ $222,150.16
HUMACAO       012549     2019       20190992               18264        HAMILTON MEDICAL C‐1 VENTILATOR          PR SALES #1        PUERTO RICO SALES & SERVICE         5250

Contract Number ‐ PR Sales #2 9/22/2021 Balance ‐ $1,081.351.00 (Balance includes equipment in other facilities)
HUMACAO       013689     2021       20210170                7807        USA HAMILTON C‐6 VENTILATOR              PR SALES #2        PUERTO RICO SALES & SERVICE         5250
HUMACAO       013690     2021       20211080                            USA HAMILTON MEDICAL C‐3 VENTILATOR      PR SALES #2        PUERTO RICO SALES & SERVICE         5250
HUMACAO                  2021       20211081                            USA HAMILTON MEDICAL C‐3 VENTILATOR      PR SALES #2        PUERTO RICO SALES & SERVICE         5250
HUMACAO                  2021       20211082                            USA HAMILTON MEDICAL C‐3 VENTILATOR      PR SALES #2        PUERTO RICO SALES & SERVICE         5250
HUMACAO                  2021       20211083                            USA HAMILTON MEDICAL C‐3 VENTILATOR      PR SALES #2        PUERTO RICO SALES & SERVICE         5250
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EQUIPMENT UNDER CAPITAL LEASE (RENTAL)

  Facility ID   Asset ID   Asset Label   Serial Number Asset Description                           Contract Number   Vendor Name                Purchase Order Number   Department ID   Place in Service Date Asset Class ID


Contract Number ‐ CEFI #10316‐006 Balance ‐ $308,993.00
  BAYAMON       012654     20191988                     DSD EDGE VMS READY BASE REPROCESSOR        CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5012952              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012609     20190114        92385220     DSD EDGE VMS READY BASE REPROCESSOR        CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012610     20190115        92385221     DSD EDGE VMS READY BASE REPROCESSOR        CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012624                                  EG‐3890TK THERAPEUTIC VIDEOENDOSCOPE       CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012641     20190102       P93110905     ENDO STRATUS IRRIGATION PUMP               CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012642     20190103       P93110906     ENDO STRATUS IRRIGATION PUMP               CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012643     20190104       P93110907     ENDO STRATUS IRRIGATION PUMP               CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012644     20190105       P93110904     ENDO STRATUS IRRIGATION PUMP               CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012613                                  ENDOSOFT WORKSTATION (SOFTWARE)            CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012645     20190106       C92621733     ENDOSTRATUS Co2 INSUFFLATOR                CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012646     20190107       C92621734     ENDOSTRATUS Co2 INSUFFLATOR                CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012647     20190108       C92621735     ENDOSTRATUS Co2 INSUFFLATOR                CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012648     20190109       C92621736     ENDOSTRATUS Co2 INSUFFLATOR                CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012617                                  EQUIPOS ENDOSCOPIA                         CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012653                                  EQUPOS ENDOSCOPIA                          CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012611     20190119        11430254     ERBE VIO 100 C ELECTROSURGICAL UNIT        CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012612     20190120        11430254     ERBE VIO 100 C ELECTROSURGICAL UNIT        CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012634                                  PENTAX EB1575K BRONCHOSCOPE                CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012633                                  PENTAX EB‐1975K BRONCHOSCOPES              CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012632                                  PENTAX EB‐1990i VIDEOBRONCHOSCOPE          CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012626                                  PENTAX EC‐34i10 COLONSCOPE                 CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012627                                  PENTAX EC‐38i10 COLONSCOPE                 CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012629                                  PENTAX ED34‐i10T DUODENOSCOPE              CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012625                                  PENTAX EG‐1690K ULTRA SLIM INSERTIO TUBE   CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012623                                  PENTAX EG‐27i10 GASTROSCOPE                CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012622                                  PENTAX EG‐29i10 GASTROSCOPE (7)            CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012618     20190094        B710008      PENTAX EPK‐i7010 HD DIGITAL VIDEO 1080I    CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012619     20190095        B710004      PENTAX EPK‐i7010 HD DIGITAL VIDEO 1080i    CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012620     20190096        B710016      PENTAX EPK‐i7010 HD DIGITAL VIDEO 1080i    CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013000              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012631                                  PENTAX FCP‐9P CHOLEDOCHOSCOPE              CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012628                                  PENTAX HIGH DEFINITION VIDEOENDOSCOPE      CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012637     20190098       18‐287122     PENTAX NDS 27" ULTRA PRIMARY BOARD         CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012638     20190099       18‐287134     PENTAX NDS 27" ULTRA PRIMARY BOARD         CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012639     20190100       18‐287116     PENTAX NDS 27" ULTRA PRIMARY BOARD         CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012640     20190101       18‐287135     PENTAX NDS 27" ULTRA PRIMARY BOARD         CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012649     20190110                     PENTAX STANDARD CAR WITH MOUNT             CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012650     20190111                     PENTAX STANDARD CAR WITH MOUNT             CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012651     20190112                     PENTAX STANDARD CAR WITH MOUNT             CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012652     20190113                     PENTAX STANDARD CART WITH MOUNT            CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012635                                  PORT INTUBATION FIBERSCOPE F1‐7RBS/10RBS   CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013852              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012614     20190116                     PVC LAMINATED ENDOSCOPE CABINET            CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012615     20190117                     PVC LAMINATED ENDOSCOPE CABINET            CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
  BAYAMON       012616     20190118                     PVC LAMINATED ENDOSCOPE CABINET            CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM         M5013863              7040             8/1/2018         LEASE 5 AÑOS
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  BAYAMON     012636                               PVK ‐1070Z HIGH RESOLUTION VIDEO MODULE       CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM   M5013852        7040   8/1/2018    LEASE 5 AÑOS
  BAYAMON     012630                               VSB‐3430K VIDEOENDOSCOPE                      CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM   M5013852        7040   8/1/2018    LEASE 5 AÑOS
  BAYAMON     012621      20190097       B710020   PENTAX EPK‐i7010 HD DIGITAL VIDEO 1080i       CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM   M5013000        7040   8/1/2018    LEASE 5 AÑOS

Contract Number ‐ Beckman Coulter PR 2017‐034 Balance ‐ $1,050.00
  BAYAMON                                          Diagnostic STL Billing 2017‐034               2017‐034          BECKMAN COULTER PR                                3/6/2018

Contract Number ‐ Beckman Coulter PR 2016‐034 Balance ‐ $23,840
  BAYAMON                                          DxC‐800 Chem System 2016‐034                  2016‐034          BECKMAN COULTER PR                                4/6/2018

Contract Number ‐ Beckman Coulter PR 2017‐031 Balance ‐ $13,635.00
  BAYAMON                                          DxL‐800 & Access 2 2017‐031                   2017‐031          BECKMAN COULTER PR                                3/6/2018

Contract Number ‐ Beckman Coulter PR 2017‐043 Balance ‐ $11,286.00
  BAYAMON                                          Diagnostic STL/Coagulation service 2017‐043   2017‐043          BECKMAN COULTER PR                                6/6/2018

Contract Number ‐ Bio Nuclear, Inc Balance ‐ $174,927.24
  BAYAMON                                          Equipos de Laboratorio                                          BIO NUCLEAR, INC                                  3/12/2008

Contract Number ‐ CEFI #10316‐007 Balance ‐ $5,501.00
   CAGUAS     012659      20191976                 10KVA UPS PACK FOR DIGITAL MAMOGRAPHY         CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        0000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012660      20191978                 10KVA UPS PACK FOR DIGITAL MAMOGRAPHY         CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        0000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012659      20191981                 3MP MONITOR UPGRADE FOR AWS 6000 SELENIA      CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        0000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012660      20191970                 3MP MONITOR UPGRADE FOR AWS 6000 SELENIA      CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        0000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012662                               AFFIRM BREAST BIOPSY GUIDANCE (SELENIA)       CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        5000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012661      20191980                 ARKUS MAMOGRAGHY CHAIR                        CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        5000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012659                               OTHER EQUIPMENT SELENIA                       CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        0000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012659      20191975                 SELENIA DIMENSIONS AVIA 3000 AS               CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009460        5000   10/1/2018   LEASE 5 AÑOS
   CAGUAS     012660      20191977                 SELENIA DIMENSIONS AVIA 3000 AS               CEFI #10316‐007   MEDIMAX‐RSI CORP           M5009480        5000   10/1/2018   LEASE 5 AÑOS

Contract Number ‐ Beckman Coulter PR 2017‐048 Balance ‐ $3,472.00
   CAGUAS                                          Access 2 immunochemistry 2017‐048             2017‐048          BECKMAN COULTER PR                                4/24/2023

Contract Number ‐ Beckman Coulter PR 2016‐033 Balance ‐ $31,550.00
   CAGUAS                                          DxC‐800 Chem System 2016‐033                  2016‐033          BECKMAN COULTER PR                                5/6/2023
   CAGUAS                                          Diagnostic STL Billing 2017‐033               2017‐033          BECKMAN COULTER PR                                5/5/2023

Contract Number ‐ Beckman Coulter PR 2017‐032 Balance ‐ $22,725.00
   CAGUAS                                          DxL‐800 & Access 2 2017‐032                   2017‐032          BECKMAN COULTER PR                                5/5/2023

Contract Number ‐ Beckman Coulter PR 2017‐042 Balance ‐ $11,286.00
   CAGUAS                                          Diagnostic STL/Coagulation service 2017‐042   2017‐042          BECKMAN COULTER PR                                6/5/2023

Contract Number ‐ Bio Nuclear, Inc Balance ‐ $183,466.92
   CAGUAS                                          Equipos de Laboratorio                                          BIO NUCLEAR, INC                                  3/12/2008
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Contract Number ‐ CEFI #10316‐006 Balance ‐ $308,993.00
  HUMACAO     012859   20191984‐20191985           CER‐2 OPTIMA BASE REPROCESSOR WITH CART   CEFI #10316‐006   ENDOSCOPY MEDICAL SYSTEM   M5012944        7040   8/1/2018    CEFI 5 AÑOS

Contract Number ‐ Beckman Coulter PR 2016‐0368 Balance ‐ $13,650.00
  HUMACAO                                          DxC‐600 Chem System 2016‐036                                BECKMAN COULTER PR                                3/6/2018

Contract Number ‐ Beckman Coulter PR 2017‐044 Balance ‐ $5,586.00
  HUMACAO                                          Access 2 immunochemistry 2017‐044                           BECKMAN COULTER PR                                6/6/2018

Contract Number ‐ Beckman Coulter PR 2017‐046 Balance ‐ $5,586.00
  HUMACAO                                          Access 2 immunochemistry 2017‐046                           BECKMAN COULTER PR                                6/6/2018

Contract Number ‐ Bio Nuclear, Inc Balance ‐ $48,072.00
  HUMACAO                                          Equipos de Laboratorio                                      BIO NUCLEAR, INC                                  3/12/2008
